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                               Office of the Independent Monitors
                                P.B., et al., v. John White, et al.
                                 (Civil Case No. 2:10-cv-04049)
                                 Status Report to the Court
                                      February 22, 2018

                                      INTRODUCTION

      Pursuant to Section V(9) on page 16 of the Consent Judgment (CJ) filed with the

Court on March 25, 2015, the Independent Monitors shall file with the Court and provide

the Parties with reports describing the steps taken by the State Defendants and the

Defendant-Intervenor to implement the Agreement and evaluate the extent to which the

State Defendants and the Defendant-Intervenor have complied with each substantive

provision of the Agreement. Pursuant to Section V(9)(a), the Monitor shall issue a status

report every 120 days after the first year of implementation of the Agreement. The reports

shall be provided to the Parties in draft form for comment at least 14 days prior to their

issuance. The Monitor shall consider the Parties’ responses and make appropriate changes,

if any, before issuing the report. These reports shall be written with due regard for the

privacy interests of the students. Pursuant to Section V(9)(b) of the CJ, the Independent

Monitors shall evaluate the state of compliance for each relevant provision of the

Agreement using the following standards: (1) Substantial Compliance and (2)

Noncompliance. In order to assess compliance, the Monitor shall review a sufficient

number of pertinent documents to accurately assess compliance and interview any

necessary staff or personnel. The Monitor shall be responsible for independently verifying

representations from the State Defendants or Defendant-Intervenor regarding progress

toward compliance, and examining supporting documentation. Each status report shall

describe the steps taken by the Monitor to assess compliance, including documents


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reviewed and individuals interviewed, and the factual basis for each of the Monitor’s

findings. Pursuant to Section V(10) of the CJ, reports issued by the Monitor shall not be

admissible against the State Defendants and the Defendant-Intervenor in any proceeding

other than a proceeding related to the enforcement of this Agreement initiated and handled

exclusively by the State Defendants, the Defendant- Intervenor, or the Plaintiff’s counsel.

The State Defendants and Defendant-Intervenor shall be released from the terms of the CJ

when they have 1) initially achieved Substantial Compliance with each provision of the

Agreement for which they are assigned responsibility; then 2) maintained Substantial

Compliance for a period of two consecutive years following the initial year of

demonstrated compliance; and 3) subject to Court approval (p. 18 of the CJ).

     The IMs provided the first draft of the status report to all Parties on July 13, 2017 and

a second draft of the status report on October 17, 2017. As required by the CJ, each party

submitted written feedback to the IMs during the months of July 2017 and October 2017

requesting specific changes to those draft status reports. In relation, the IMs provided a

letter to all parties on August 1, 2017 requesting feedback on recommendations designed to

proactively address concerns of continued systemic noncompliance in charter schools

identified for initial and/or targeted, follow-up onsite monitoring at the request of the

Court. Subsequently, the parties submitted written feedback regarding those

recommendations on August 8, 2017. In addition, the IMs met with all parties at the LDOE

on September 27, 2017 and again on October 5, 2017 in Judge Zainey’s chambers to

address the proactive recommendations made by the IMs in the August 1st letter. At the

request of the Court, all parties held a phone conference on November 29, 2017 to review

the IM recommendations to address the patterns of continued systemic noncompliance




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among identified charter schools. Following further discussions among the parties in

December 2017 and January 2018, and an order from the Court, the Plaintiffs’ counsel,

State Defendants, and Defendant-Intervenor submitted final feedback regarding the

proposed recommendations to the Court and IMs on February 5, 2018. The IMs have

reviewed the written correspondence received from the Plaintiffs’ counsel, LDOE counsel,

and OPSB counsel throughout the fall 2017 and spring 2018 school terms as well as

information from the onsite meetings in order to make requested revisions to the IM status

report and finalize the recommendations specifically designed to address the ongoing

concerns with systemic noncompliance among LEAs identified for targeted, onsite

monitoring.

     The IM status report addresses several activities completed by the State Defendants

or Defendant-Intervenor during the 2016-2017 school year as required by the CJ.

Specifically, the IMs provide a review of the targeted monitoring activities completed

during the spring 2017 semester along with an update regarding decisions of “Substantial

Compliance” or “Noncompliance” as related to specific monitoring activities undertaken

by the LDOE (e.g., appropriate selection of schools, completion of staff interviews and

student file reviews, development and dissemination of LEA targeted monitoring reports,

development and dissemination of corrective action plans). In relation, the IMs provide a

comparison of targeted monitoring outcomes from the spring 2016 and spring 2017

semesters for the LEAs who received initial monitoring reviews (e.g., staff phone

interviews, student desk file reviews) during the months of March 2016 through May

2016 and follow-up, on-site monitoring visits during month of February in the spring

2017 term. Finally, the IMs provide recommendations based on review of documentation




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 provided by the State Defendants and Defendant-Intervenor, analysis of outcomes from

 the targeted monitoring reviews and feedback from all Parties. The sequence of

 information in this IM status report follows the general structure of the CJ. Language

 from each substantive provision of the Agreement or Addendum A (i.e., monitoring

 protocols) of the CJ is incorporated into the IM status report when appropriate.

 TARGETED MONITORING ACTIVITIES FOR THE SPRING 2017 SEMESTER

 OF THE 2016-2017 SCHOOL YEAR

Overview of Targeted Monitoring Activities for the Spring 2017 Semester

       The CJ requires that the LDOE engage in specific monitoring activities for LEAs

selected for targeted monitoring annually. As such, the IMs report the activities and decisions

made by the LDOE as related to the required monitoring activities for schools identified for

follow-up, targeted monitoring during the spring 2017 school term for each relevant provision

of the CJ. However, an overview of the monitoring procedures used by the LDOE is provided

here to assist readers in understanding the process that was used to complete targeted

monitoring as required by the CJ. Additional information is also included in each relevant

section of the IM status report.

     School selection for each area of targeted monitoring was completed by LDOE

monitoring personnel using calculation rates outlined in Addendum A of the CJ (p. 1 for

Child Find, p. 3 for Related Services, p. 4 for Discipline, p. 6 for Enrollment Stability) and

previously discussed in each section of the IM status report dated November 7, 2016. Each

LEA selected for follow-up, targeted on-site monitoring was sent a notification email from

LDOE Director of State-wide Monitoring on December 13, 2016 and an agenda of monitoring

activities on December 15, 2016 (see Appendix B for a copy of each notification email and




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agenda). These notifications provided an overview of the requirements for targeted monitoring

pursuant to the CJ, the specific areas in which the charter was being monitored, methods of

monitoring (e.g., student file selection, staff interviews, student file reviews), LDOE contact

personnel, the specific date of interviews with staff, instructions for the on-site monitoring

visit, and copies of the staff interview questions and student file review protocols. The

protocols along with the relevant IDEA or Bulletin 1508 legal citation were presented in

Appendix B of the IM status report dated May 18, 2017.

       LDOE monitoring personnel submitted the final targeted monitoring schedule for the

spring 2017 school term to the IMs on February 2, 2017. LDOE monitoring personnel and

IMs conducted on-site staff interviews and student file reviews from February 6, 2017 through

February 10, 2017 during the spring 2017 school term using documents required by the CJ. Staff

interview questionnaires and student file review protocols were presented in Appendix B of the

IM status report dated May 18, 2017. The IMs and LDOE monitoring personnel scored student

file review protocols independently during the on-site visits and reconciled any scoring

differences at the conclusion of each on-site monitoring visit. Based on agreements among all

parties during a meeting held on September 22, 2016, compliance determinations for

individual students shall be consistent with the 100% compliance standard outlined in the

IDEA. That is, during all targeted monitoring activities, any single finding of noncompliance

for any specific IDEA regulation being assessed for an individual student was judged to

reflect noncompliance and required immediate individual corrective action (i.e., student-

specific areas of noncompliance outlined in the IDEA Monitoring Summary and individual

corrective actions as part of the LEA Corrective Action Plan). Similarly, all parties agreed that

systemic noncompliance would be determined when less than 80% of the student sample



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failed to meet the 100% individual student compliance standard for any IDEA requirement

evaluated on the CJ protocol and would result in mandatory systemic corrective actions (i.e.,

Corrective Action Plan) for the LEA.

       The LDOE monitoring personnel completed the monitoring reports for each

targeted LEA during the month of March 2017. The IMs reviewed the monitoring reports

and provided feedback regarding specific findings of systemic noncompliance in relation

to IDEA regulations and student-specific findings of noncompliance on April 4, 2017. In

relation, the LDOE monitoring personnel developed Intensive Corrective Action Plans

(ICAPs) for each LEA during April 2017 and the IMs provided feedback regarding the

ICAPs on May 4, 2017. The IMs review and feedback focused on ensuring the corrective

strategies outlined in the ICAPS were reasonably sufficient, presuming adequate levels

of implementation fidelity, to lead to overall sustained improvements and compliance for

IDEA and/or Bulletin 1508 practices in the areas of Child Find, Related Services,

Discipline and Enrollment across targeted LEAs. Specifically, the IMs reviewed all

submitted ICAPs to ensure that the professional development and technical assistance

activities strategically addressed each finding of systemic noncompliance or student-

specific noncompliance identified in the LDOE monitoring reports and IDEA Monitoring

Results summaries. In relation, the IMs evaluated the ICAPs to ensure that on-going

corrective and supportive feedback would be provided by LDOE monitoring personnel to

assist in promoting skill development of faculty in a developmental nature until such

time compliance is achieved. The IMs also reviewed the ICAPs to ensure that the LEAs

would be providing appropriate documentation to assist LDOE monitoring personnel in

evaluating both the compliance and quality of their practices in relation to federal and



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state regulations as well as requirements outlined in the CJ. Additionally, the IMs

compared the 2016- 2017 school year Recommendation Plans or CAPs to the 2017-2018

school year ICAPs to evaluate if needed revisions were made to assist the LEAs in

meeting the requirements of federal and/or state regulations and the CJ (e.g., increased

LDOE oversight with additional levels of professional development, technical support, or

corrective feedback ; correct utilization of LDOE forms; submission of more thorough

student documentation; more frequent submission of required documentation). Finally, in

addition to the LDOE personnel supports outlined in the ICAPs, the LDOE elected to

advise the LEAs of available sources of technical assistance (e.g., LSU Health Science

TIERS Group) as one of the potential sanctions described in Bulletin 1922, Section

§107(f)(1).

       The LDOE submitted cover letters, final monitoring reports with recommendations

for improvement, specific findings of noncompliance in relation to IDEA violations, and

ICAPs to each LEA in March 2017 and April 2017. In relation, final monitoring

documents were submitted to the IMs on May 3, 2017 and May 9, 2017. These documents

are in Appendix B for review by all Parties. Finally, LDOE monitoring personnel held

technical assistance meetings or phone calls with the targeted LEAs to review the findings

of systemic noncompliance and student-specific noncompliance and discuss the structure

and activities of the ICAPs from May 8, 2017 through May 11, 2017. These notifications

were submitted to the IMs for review on May 9, 2017 and are also located in Appendix B

for review by the parties.

       The IMs review of compliance with the targeted monitoring provisions of the CJ for

the spring semester of the 2016-2017 school year consisted of an evaluation of three




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components of the LDOE’s monitoring activities. Specifically, the components being

assessed for compliance included: (1) Correct identification of the charter schools selected

for targeted monitoring (e.g., determination of the annual new identification rate for each

LEA, and evaluation of the LDOE calculations); (2) Completion of targeted monitoring

activities by the LDOE as required by the CJ and Addendum A to the CJ (e.g., completion

of appropriate monitoring activities by the LDOE, completion of staff interviews,

appropriate selection of student files, appropriate completion of the monitoring protocols,

and correct identification of systemic or individual compliance and/or noncompliance) and

(3) Development of appropriate corrective actions “sufficient to remedy the noncompliance

and to reasonably ensure that such noncompliance does not reoccur.” (pp. 7, 9, 11, 14 of

CJ). As such, the IM status report provides a review of these monitoring activities for each

LEA selected for follow-up, targeted monitoring under each area of the CJ (e.g., Child Find,

Related Services, Discipline, Enrollment) along with IM determinations regarding

compliance with the monitoring provisions of the CJ. An overall summary regarding

targeted monitoring activities and professional recommendations are provided at the

conclusion of the IM status report.

   A. CHILD FIND

   1. Targeted Monitoring Activities for the Child Find Provisions

       Three schools were selected for follow-up, on-site targeted monitoring in the area of

Child Find during the spring 2017 school semester. As previously discussed on page 16 of

the IM status report dated November 7, 2016, the IMs reviewed the documentation and

calculations performed by LDOE monitoring personnel and confirmed that the schools

were selected for targeted monitoring in a manner consistent with the requirements outlined



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on page 7 of the CJ and page 1 of Addendum A of the CJ. The schools selected for follow-

up, on-site targeted monitoring during the spring 2017 semester included Joseph A. Craig

Charter School, Lake Area New Technology Early College High School, and Sophie B.

Wright Charter School. A review of findings for each school is presented below.

       a. Joseph A. Craig Charter School

       The follow-up, on-site targeted monitoring visit occurred on February 6, 2017. One

LDOE representative and two IMs were present during the entire on-site visit to conduct

staff interviews and review student files. The staff interviews were conducted using a

standard bank of questions with staff members consistent with requirements outlined in

sections 4(a) and 4(b) on page 2 of Addendum A of the CJ. The specific staff members

who participated in the interview process are reported on page 3 of the LDOE Monitoring

Report. The results of the interview process revealed “noncompliance in the area of Child

Find” particularly with regard to effective team-based decision-making processes (p. 3 of

the LDOE Monitoring Report). Specifically, school personnel failed to clearly articulate

methods for identifying students for tiered academic or behavioral supports and the types

of supports and services provided to students within the RTI process. In relation, school

personnel reportedly failed to clearly articulate progress monitoring methods for

determining the overall effectiveness of tiered interventions. Additionally, no reference to

referral for a comprehensive evaluation was made during the team’s explanation about the

RTI process at this LEA. In relation, “referral for Section 504 Individualized

Accommodation Plan was mentioned multiple times by the school personnel which

appeared to be the default referral and service provision method for students who are

experiencing academic difficulties” (p. 4 of the LDOE Monitoring Report). Finally, the




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monitors concluded that the SBLC process is not consistently based on substantive review

of objective data or team-based decision-making process as required by Bulletin 1508. As

such, the monitoring team concluded that school personnel would “benefit for enhanced

corrective actions to enable struggling students to progress in the general education

curriculum” (p. 4 of the LDOE Monitoring Report). A detailed summary of staff responses

is presented on pages 3- 4 of the LDOE monitoring report located in Appendix B.

       A representative sample of twenty-six student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

Section 2(a) on page 1 of Addendum A of the CJ. Specifically, the sample consisted of

eleven students (42% of the sample) who had Section 504 plans, four students (15% of the

sample) who were under consideration by the School Building Level Committee (SBLC),

and eleven students (42% of the sample) who were participating in the Response to

Intervention (RTI process). Student file reviews were conducted by LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section 3(a) on

page 2 of Addendum A of the CJ using the required Child Find protocol. Please refer to

page 4 of the LDOE Monitoring Report for Joseph A. Craig Charter School in Appendix B

for a list of items that were reviewed to complete the Child Find protocol for the sample of

students. A review of student records revealed that twelve of twenty-six student files (46 %

of the sample) were judged to be in noncompliance regarding Child Find activities. Specific

IDEA, Bulletin 1508 and/or Section 504 systemic violations are reported on pages 5-6 of

the LDOE Monitoring Report and pages 1- 3 of the 2016-2017 IDEA Monitoring Results

Summary located in Appendix B. In relation, student-specific findings of noncompliance

are listed on pages 4-5 of the 2016-2017 IDEA Monitoring Results Summary. Overall,




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systemic noncompliance was identified for this LEA under IDEA, Part B program using

Bulletin 1508 (Pupil Appraisal Handbook) in four areas. Specifically, eleven of seventeen

applicable student files (65% of the sample) were judged to reflect noncompliance with the

requirement that the SBLC coordinated and documented the results of all required

screening activities completed by general education personnel with the assistance from

other school personnel (Bulletin 1508-§305 Screening Activities). One of one applicable

student files reviewed (100% of the sample) indicated that no initial evaluation or statement

of reasons for refusal to conduct an evaluation were documented in the records

(§300.503(a)(2)- IDEA and §109 (A-B) – Bulletin 1508 - Parental Requests). Seven of

seventeen applicable student files (41% of the sample) were found to be in noncompliance

with the requirement that the school fully implemented the three tiers of instruction and

intervention with measured levels of integrity, used standard protocols and/or problem

solving methods, and used an integrated data collection or assessment system to inform

decisions about student response to intervention at each tier of instruction or intervention

(Bulletin 1508-§301 Response to Intervention; IDEA-§300.306(a)(1) and §300.308).

Finally, seven of ten applicable student files (70% of the sample) were found to be in

noncompliance with the requirement that the student be referred to the SBLC for

consideration of an initial evaluation within a reasonable amount of time if the student did

not maintain expected progress while participating in the RTI process (Bulletin 1508-§303

SBLC Referral Process; IDEA-§300.309(c). In addition, one of eleven applicable Section

504 student files (9% of the sample) were judged to reflect noncompliance with the

requirement that the student receive specially designed instruction if indicated by the

student’s educational records (Section 504-§104.35(b) which represented a student-specific




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finding of noncompliance.

       b. Lake Area New Technology Early College High School

       The follow-up, on-site targeted monitoring visit occurred on February 10, 2017.

One LDOE representative and two IMs were present during the entire on-site visit to

conduct staff interviews and review student files. The staff interviews were conducted

using a standard bank of questions with staff members consistent with requirements

outlined in sections 4(a) and 4(b) on page 2 of Addendum A of the CJ. The specific staff

members who participated in the interview process are reported on page 3 of the LDOE

monitoring report. A review of the LDOE Monitoring Report revealed “noncompliance in

the area of Child Find” (p. 3 of the LDOE Monitoring Report). Specifically, school

personnel reported that they were in the process of implementing a universal screening

program and reported that only one benchmark assessment had been conducted during the

current school year. In relation, school personnel failed to articulate “clear distinctions

between which supports were provided at each tier or of the criteria that determined the

type of intervention students are scheduled for at each tier” (p. 3 of the LDOE Monitoring

Report). Additionally, Section 504 provisions were reported as the “primary method used

to support students identified with skills deficits” (pp. 3-4 of the LDOE Monitoring

Report). Overall, the team of monitors concluded that “some staff seemed unclear about

best practices regarding Child Find practices and procedures with regard to

identification, location, and evaluation of students suspected of having disabilities” (p. 4 of the

LDOE Monitoring Report). As such, the monitoring team concluded that school personnel

would benefit from the continuation of corrective actions to address the identified concerns

and ensure that students are provided Child Find protections required to enable them to



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progress in the general education setting. A detailed summary of staff responses is

presented on pages 3-4 of the LDOE Monitoring Report located in Appendix B.

       A representative sample of twenty student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section 2(a) on page 1 of Addendum A of the CJ. Specifically, the sample consisted of five

students (25% of the sample) who experienced course failures, eight students (40% of the

sample) who had Section 504 plans, six students (30% of the sample) who were

participating in the Response to Intervention (RTI process) and under consideration by the

School Building Level Committee (SBLC), and one student (5% of the sample) who was

formerly a Section 504 student and currently identified with an IDEA exceptionality.

Student file reviews were conducted by LDOE monitoring personnel and IMs in a manner

consistent with the requirements outlined in section 3(a) on page 2 of Addendum A of the

CJ using the required Child Find protocol. Please refer to page 4 of the LDOE Monitoring

Report for Lake Area New Technology Early College High School in Appendix B for a list

of items that were reviewed to complete the Child Find protocol for the sample of students.

A review of student records revealed that eleven of twenty student files (55% of the

sample) were judged to be in noncompliance regarding Child Find activities. Specific

IDEA, Bulletin 1508 and/or Section 504 systemic violations are reported on page 5 of the

LDOE Monitoring Report and pages 1-3 of the 2016-2017 IDEA Monitoring Results

Summary located in Appendix B. In relation, student-specific findings of noncompliance

are listed on pages 4-6 of the 2016-2017 IDEA Monitoring Results Summary. Overall,

systemic noncompliance was identified for this LEA under IDEA, Part B program using

Bulletin 1508 (Pupil Appraisal Handbook) in seven areas. Specifically, nine of twenty




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applicable files (45% of the sample) were found to be in noncompliance with the

requirement that the School Building Level Committee (SBLC) consisted of documented,

required standing committee members and invited participants who review and analyze all

screening data, including RTI results, to determine the most beneficial option for the

student (Bulletin 1508-§303 School Building Level Committee). One of two applicable

student files (50% of the sample) files reviewed contained no evidence to indicate the

parent provided consent for the initial IDEA evaluation (§300.304(a) – IDEA Parent

Consent). Eight of nine applicable student files (89% of the sample) were judged to reflect

noncompliance with the requirement that the SBLC coordinated and documented the results

of all required screening activities completed by general education personnel with the

assistance from other school personnel (Bulletin 1508-§305 Screening Activities). Five of

five (100% of the sample) were found to be in noncompliance with the requirement that the

school fully implemented the three tiers of instruction and intervention with measured

levels of integrity, used standard protocols and/or problem solving methods, and used an

integrated data collection or assessment system to inform decisions about student response

to intervention at each tier of instruction or intervention (Bulletin 1508-§301 Response to

Intervention; IDEA-§300.306(a)(1) and §300.308). Five of five applicable student files

(100% of the sample) were found to be in noncompliance with the requirement that the

student be referred to the SBLC for consideration of an initial evaluation within a

reasonable amount of time if the student did not maintain expected progress while

participating in the RTI process (Bulletin 1508-§303 SBLC Referral Process; IDEA-

§300.309(c). One of two applicable student files (50% of the sample) files reviewed

contained no evidence to show the parent was provided a notice of intent and a list of




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proposed procedures for the initial IDEA evaluation (IDEA §300.304(a) Evaluation

Procedures). Finally, one of two applicable student files (50% of the sample) files reviewed

contained no evidence to show that parental consent was obtained to conduct an initial

evaluation (IDEA §300.300(a) Parental Consent).

       c. Sophie B. Wright Charter School

       The follow-up, on-site targeted monitoring visit occurred on February 8, 2017. One

LDOE representative and two IMs were present during the entire on-site visit to conduct staff

interviews and review student files. The interviews were conducted using a standard bank of

questions with staff members consistent with requirements outlined in sections 4(a) and 4(b)

on page 2 of Addendum A of the CJ. The specific staff members who participated in the

interview process are reported on page 3 of the LDOE monitoring report. A review of the

LDOE Monitoring Report revealed several positive outcomes (e.g., active involvement of

administration at every level of the tiered support process; scheduled administration of

universal screening methods; provision of a wide variety of tiered supports and interventions

to address identified referral concerns; data-based decision making by a comprehensive team

of individuals). However, the interview process also revealed concerns with regard to the

Child Find process at this LEA. Specifically, a review of records revealed that team meetings

were “often held in the absence of one or more required participants” (p. 4 of the LDOE

Monitoring Report). In addition, interview responses and record review revealed that

“Section 504 services are widely used to address the needs of students with skill deficits” and

“descriptions of the SBLC and Section 504 process lacked details regarding identifying or

ruling out disabilities and appeared to focus more on the need to provide accommodations to

students who may benefit from them” (p. 4 of the LDOE Monitoring Report). In relation, the




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monitoring team concluded that “some staff seemed unclear about best practices regarding

Child Find practices and procedures regarding identification, location, and evaluation of

students suspected of having disabilities” (p. 4 of the LDOE Monitoring Report). As such,

the team of monitors concluded that school personnel would benefit from continuation of

corrective actions to address the identified concerns and ensure that students are provided

Child Find protections required to enable them to progress in the general education setting. A

detailed summary of staff responses is presented on pages 3-4 of the LDOE Monitoring

Report located in Appendix B.

       A representative sample of twenty-one student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section 2(a) on page 1 of Addendum A of the CJ. Specifically, the sample consisted of nine

students (43% of the sample) who were under consideration by the School Building Level

Committee (SBLC), five students (24% of the sample) who were participating in the

Response to Intervention (RTI process), five students (24% of the sample) who had Section

504 plans, and two students (10% of the sample) with ten or more days of removal. In

relation, nineteen of the twenty-one students (90% of the sample) were also experiencing

course failures. Student file reviews were conducted by LDOE monitoring personnel and

IMs in a manner consistent with the requirements outlined in section 3(a) on page 2 of

Addendum A of the CJ using the required Child Find protocol. Please refer to page 4 of the

LDOE Monitoring Report for Sophie Wright Charter School in Appendix B for a list of

items that were reviewed to complete the Child Find protocol for the sample of students. A

review of student records revealed that twenty-one of twenty-one student files (100% of the

sample) were judged to be in noncompliance regarding Child Find activities. Specific




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IDEA, Bulletin 1508 and/or Section 504 systemic violations are reported on page 5 of the

LDOE Monitoring Report and pages 1-2 of the 2016-2017 IDEA Monitoring Results

Summary located in Appendix B. In relation, student-specific findings of noncompliance

are listed on pages 3-8 of the 2016-2017 IDEA Monitoring Results Summary. Overall,

systemic noncompliance was identified for this LEA under IDEA, Part B program using

Bulletin 1508 (Pupil Appraisal Handbook) in five areas. Specifically, twenty-one of

twenty-one applicable files (100% of the sample) were found to be in noncompliance with

the requirement that the School Building Level Committee (SBLC) consisted of

documented, required standing committee members and invited participants who review

and analyze all screening data, including RTI results, to determine the most beneficial

option for the student (Bulletin 1508-§303 School Building Level Committee). Twenty of

twenty applicable student files (100% of the sample) were judged to reflect noncompliance

with the requirement that the SBLC coordinated and documented the results of all required

screening activities completed by general education personnel with the assistance from

other school personnel (Bulletin 1508-§305 Screening Activities). Nineteen of nineteen

applicable student files (100% of the sample) were found to be in noncompliance with the

requirement that the school fully implemented the three tiers of instruction and intervention

with measured levels of integrity, used standard protocols and/or problem solving methods,

and used an integrated data collection or assessment system to inform decisions about

student response to intervention at each tier of instruction or intervention (Bulletin 1508-

§301 Response to Intervention; IDEA-§300.306(a)(1) and §300.308). Nineteen of nineteen

applicable student files (100% of the sample) were found to be in noncompliance with the

requirement that the student be referred to the SBLC for consideration of an initial




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evaluation within a reasonable amount of time if the student did not maintain expected

progress while participating in the RTI process (Bulletin 1508-§303 SBLC Referral

Process; IDEA-§300.309(c). Finally, fourteen of fifteen applicable Section 504 student files

(93% of the sample) were judged to reflect noncompliance with the requirement that the

student receive specially designed instruction if indicated by the student’s educational

records (Section 504-§104.35(b).

       2. Comparison of Compliance for Child Find Provisions for the Spring 2016 and

           Spring 2017 Semesters

       A comparison of the average percentage of compliance for each item (i.e., IDEA,

Bulletin 1508 or Section 504 regulation) on the CJ Child Find Protocol is presented in the

tables in Appendix B for each LEA selected for targeted monitoring during the spring 2016

semester and follow-up, targeted monitoring during the spring 2017 semester. In relation,

the IMs evaluated the trend in compliance from the spring 2016 semester to the 2017

semester and status of compliance based on outcomes from the spring 2017 on-site, follow-

up monitoring visits that occurred from February 6-10, 2017. An overview of findings for

each LEA is presented below.

       a. Joseph A. Craig Charter School

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Child Find Protocol, a positive

trend (i.e., improvement in provision of professional practices and/or submission or

required documentation) was observed for seven of nine applicable items (78% of the

applicable items on the protocol). However, outcomes were observed to be at or above the

required criterion (e.g., 80% or more of the student sample met the 100% individual




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student compliance standard for any regulation) for only four of the seven items. In

relation, average compliance percentages were at or above the required criterion for five of

nine applicable items (e.g., 56% of the applicable items on the protocol). As previously

mentioned in this status report, systemic noncompliance was identified during the spring

2017 semester for Joseph A. Craig Charter School in four areas (e.g., sufficient screening

activities, parent notification activities, collection of sufficient data within the RTI process,

referral to SBLC for consideration of an initial evaluation within a reasonable amount of

time).

         b. Lake Area New Technology Early College High School

         Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Child Find Protocol, a positive

trend (i.e., improvement in provision of professional practices and/or submission or

required documentation) was observed for six of ten applicable items (60% of the

applicable items on the protocol). However, outcomes were observed to be at or above the

required criterion (e.g., 80% or more of the student sample met the 100% individual

student compliance standard for any regulation) for only three of the six items. In relation,

average compliance percentages were at or above the required criterion for three of ten

applicable items (e.g., 30% of the applicable items on the protocol). As previously

mentioned in this status report, systemic noncompliance was identified during the spring

2017 semester for Lake Area New Technology Early College High School in seven areas

(e.g., documentation of appropriate composition of the SBLC, appropriate parental consent

activities, sufficient screening activities, collection of sufficient data within the RTI

process, referral to the SBLC for consideration of an initial evaluation within a reasonable




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amount of time, appropriate parental notice activities).

       c. Sophie B. Wright Charter School

      Based on a review of the data obtained during protocol reviews conducted during the

spring 2016 and spring 2017 semesters using the CJ Child Find Protocol, a negative trend

or stable performance was observed for five of five applicable items (100% of the

applicable items on the protocol). In relation, outcomes were observed to be below the

required criterion (e.g., 80% or more of the student sample met the 100% individual

student compliance standard for any regulation) for five of five applicable items. As

previously mentioned in this status report, systemic noncompliance was identified during

the spring 2017 semester for Sophie B. Wright Charter School in five areas (e.g.,

documentation of appropriate composition of the SBLC, sufficient screening activities,

collection of sufficient data within the RTI process, referral to the SBLC for consideration

of an initial evaluation within a reasonable amount of time, provision of specially

designed instruction).

       3. Corrective Actions to Address Identified Areas of Noncompliance

       Given the identified systemic and student-specific findings of noncompliance under

IDEA, Part B, and Bulletin 1508, all three charter schools (100% of the sample) required a

formal Recommendation Plan during the 2016-2017 school year. Specific components of

each Recommendation Plan were previously discussed on pages 24-26 in the IM status

reported dated November 7, 2016. In relation, professional development and on-going

technical assistance and feedback was provided by LDOE monitoring personnel throughout

the 2016-2017 school year. Additionally, the IMs reviewed required documentation submitted

by each LEA in relation to their Recommendation Plan activities on February 1, 2017 at the



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LDOE to confirm that school personnel were complying with the requirements outlined in the

plans. Despite being on corrective action, systemic noncompliance was identified across three

areas (e.g., documentation of sufficient screening activities, collection of sufficient data to

determine the effectiveness of intervention during the RTI process, referral to SBLC for

consideration of an initial evaluation within a reasonable amount of time) for all three charter

schools targeted for monitoring during the spring 2017 semester. Other areas of systemic

noncompliance for each LEA were reported in the previous section of this status report. As

required by the CJ, the LDOE developed an intensive corrective action plan (ICAP) to

address each area of identified systemic noncompliance or student-specific noncompliance

listed in the LDOE monitoring report and 2016-2017 IDEA monitoring summary for each

LEA. While 2016-2017 Recommendation Plans and 2017-2018 ICAPs include some of the

same activities (e.g., SBLC team attendance at a professional development by the LDOE on

Child Find federal and state requirements, criteria for Section 504 eligibility, RTI

requirements, and specific components of the PB v White Child Find Written Guidance

document; monitoring of IDEA and/or Section 504 students who are failing to make progress

academically, behaviorally, and/or who have medical concerns), several activities have been

added or revised to address the specific concerns identified during the spring 2017 follow-up,

onsite monitoring visits. Specifically, the 2017-2018 school year ICAP included sixteen total

activities of corrective action (e.g., correction of student-specific findings of noncompliance;

professional development provided by the LDOE monitoring personnel regarding federal and

state Child Find requirements and requirements outlined in the PB v White Child Find Written

Guidance document, Section 504 eligibility requirements, and data-based decision making

within the RTI process; appropriate monitoring of students in the RTI process; development




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of a Child Find log; appropriate referral activities and documentation using LDOE forms;

appropriate completion and documentation of SBLC activities using LDOE forms; LDOE

approved, school- based training of the RTI process across each tier to appropriately address

academic and/or behavioral referral concerns; use of appropriate screening activities and/or

teacher nomination to identify student-specific referral concerns; utilization of research-based

interventions to address identified student referral concerns; progress monitoring of students

in the RTI process using quantifiable data and pre-determined decision rules; scheduled

evaluation of data by school- based teams; review of LDOE professional development on

Section 504 requirements; LDOE approved, school-based training on Section 504

requirements; development of Section 504 procedures and guidelines; development of

Section 504 eligibility criteria to determine need for services; monthly or bi-monthly

submission of documentation to the LDOE for review and direct feedback). A copy of the

ICAP for each charter school is in Appendix B for review by the Parties. A review of the

ICAPs by the IMs revealed that the documents, presuming adequate fidelity of

implementation, include “corrective actions sufficient to remedy the noncompliance and to

reasonably ensure that such noncompliance does not reoccur” for Joseph A. Craig Charter

School, Lake Area New Technology Early College High School, and Sophie B. Wright

Charter School as outlined in section IV(A)(3) on page 7 of the CJ.

       4. Status of Compliance

       After participating in the follow-up, on-site monitoring visits for the charter schools

selected for follow-up, on-site targeted monitoring and reviewing documentation submitted by

the LDOE monitoring personnel (e.g., monitoring notifications, LDOE monitoring reports,

2016- 2017 IDEA monitoring results summaries, intensive corrective action plans, technical




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assistance notifications) and discussing the targeted monitoring activities with LDOE legal

counsel and monitoring personnel during conference calls and on-site meetings during

throughout the fall 2016 semester and spring 2017 semester, the LDOE is judged to be in

Substantial Compliance with Section IV(A)(3)(a-b) and Sections A(1)(a-c) through 5(a) of

Addendum A of the CJ for the spring 2017 semester of the 2016-2017 school year. An

evaluation of compliance will be made again in the next IM status report which will discuss

the targeted monitoring activities for charter schools who received initial monitoring reviews

during the fall 2017 semester.


B. RELATED SERVICES

       1. Targeted Monitoring Activities for Related Services Provisions

       Three schools were selected for follow-up, on-site targeted monitoring in the area of

Related Services during the spring 2017 school semester. As previously discussed on page

37 of the IM status report dated November 7, 2016, the IMs reviewed the documentation

and calculations performed by LDOE monitoring personnel and confirmed that the schools

were selected for targeted monitoring in a manner consistent with the requirements outlined

on page 8-9 of the CJ and pages 2-3 of Addendum A of the CJ. The schools selected for

follow-up, on-site targeted monitoring during the spring 2017 semester included Algiers

Technology Academy, International High School of New Orleans, and Landry-Walker

College and Career Preparatory High School. A review of findings for each school is

presented below.

       a.   Algiers Technology Academy

       The follow-up, on-site targeted monitoring visit occurred on February 9, 2017. Two

LDOE representatives and two IMs were present during the entire on-site visit to conduct



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staff interviews and review student files. The staff interviews were conducted using a

standard bank of questions with staff members consistent with requirements outlined in

sections B(4)(a) and B (4)(b) on page 3-4 of Addendum A of the CJ. The specific staff

members who participated in the interview process are reported on page 3 of the LDOE

Monitoring Report.

       During the interview, faculty at Algiers Technology Academy clearly described how

related services are provided for students to ensure the provision of a free appropriate public

education (FAPE). Throughout the initial evaluation process, faculty reported routinely

reviewing specific referral concerns as well as reviewing IEPs of currently enrolled students

to ensure the related services needs were being fully addressed. With regard to students

transferring to the Algiers Technology Academy campus, staff reported they conduct a

timely review of all available documentation to determine the student’s related service

needs and schedule services accordingly. Reportedly, the school has established

communication with local education agencies’ pupil appraisal office to help ensure

students that transfer to the network schools have a smooth transition of services. School

staff also reported the implementation of an internal procedure whereby all pupil appraisal

staff provide direct consultation to and/or collaborate with school staff within the charter

school network to ensure appropriate related service provisions. Finally, to prevent loss of

instructional time, school staff reported that all students requiring related services are

served during non-core instructional periods during the school day. A summary of staff

responses is presented on page 3 of the LDOE Monitoring Report.

       A representative sample of ten student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in



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section B(2)(a) and B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten

students reviewed included the following exceptionalities: five students with an

exceptionality of Autism (50% of the sample), one student with an exceptionality of

Hearing Impaired (10% of the sample), three students with an exceptionality of

Intellectual Disability (30% of the sample), and one student with a exceptionality of

Traumatic Brain Injury (10% of the sample). Regarding related services provisions, two

students received adapted physical education services, five students received

speech/language therapy services, and six students received social work services.

       Student file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum

A of the CJ using the required Related Service protocol. Refer to page 4 of the LDOE

monitoring report for Algiers Technology Academy in Appendix B for a list of items that

were reviewed to complete the Related Service protocol for the sample of students. A

review of student records revealed that five of ten student files (50% of the sample) were

judged to be in noncompliance regarding related service provisions. Specific IDEA systemic

violations are reported on page 4 of the LDOE Monitoring Report and page 1 of the 2016-

2017 IDEA Monitoring Results Summary located in Appendix B. In relation, student-

specific findings of noncompliance are listed on page 2 of the 2016-2017 IDEA Monitoring

Results Summary. Overall, systemic noncompliance was identified for this LEA under

IDEA, Part B in one area. Specifically, three of ten files applicable student files reviewed

(30% of the sample) contained missing information to document services were provided

according to the type and frequency indicated on the student’s IEP (IDEA

§300.320(a)(4),(7) Definition of an Individualized Education Program).




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       b. International High School of New Orleans

       The follow-up, on-site targeted monitoring visit occurred on February 6, 2017. Two

LDOE representatives and two IMs were present during the entire on-site visit to conduct

staff interviews and review student files. The staff interviews were conducted using a

standard bank of questions with staff members consistent with requirements outlined in

section B(4)(a) and B(4)(b) of page 3 of Addendum A of the CJ. The specific staff

members who participated in the interview process are reported on page 3 of the LDOE

Monitoring Report.

       Staff responses during the interview process revealed concerns related to the general

procedures the school utilizes to determine whether a student with a disability requires

related service provisions. School staff indicated that related service providers are generally

delivered by external providers who are contracted by the charter organization at the

beginning of each school year. According to school staff, the related service providers are

expected to sign logs each day after servicing a student. However, despite having access to

SER, school staff reported compliance issues for external providers with regard to

consistently completing required documentation (i.e., service logs, progress reports). In

sum, throughout the interview process, staff generally failed to clearly articulate the specific

procedures followed by staff to schedule and consistently provide related services to ensure

the provision of a free and appropriate public education (FAPE). A summary of staff

responses in presented on pages 3-4 of the LDOE Monitoring Report.

       A sample of ten student files were reviewed by the LDOE monitoring personnel

and IMs in a manner consistent with the requirements outlined in section B(2)(a) and

B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten students reviewed included




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the following exceptionalities: three students with an exceptionality of Autism (30% of the

sample), one student with an exceptionality of Hearing Impaired (10% of the sample), two

students with an exceptionality of Intellectual Disability (20% of the sample), two students

with an exceptionality of Other Health Impaired (20% of the sample), and two students

with an exceptionality of Multiple Disabilities (20% of the sample). Regarding related

services provisions, one student received Orientation and Mobility services, three students

received Occupational Therapy services, five students received adapted physical education

services, and ten students received Speech/Language therapy services.

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum

A of the CJ using the required Related Service protocol. Please refer to page 4 of the LDOE

Monitoring Report for International High School of New Orleans in Appendix B for a list

of items that were reviewed to complete the related service protocol for the sample of

students. A review of student records revealed that ten of ten student files reviewed (100%

of the sample) were judged to be in noncompliance regarding related service provisions.

Specific IDEA systemic violations are reported on pages 5-6 of the LDOE monitoring

report and pages 1-4 of the 2016-2017 IDEA monitoring results summary located in

Appendix B. In relation, student- specific findings of noncompliance are listed on pages 5-

9 of the 2016-2017 IDEA monitoring results summary. Overall, systemic noncompliance

was identified for this LEA under IDEA, Part B in six areas. Specifically, ten of ten

applicable student files (100% of the sample receiving related services) were found to be in

noncompliance with the requirement that the student receive a Free Appropriate Public

Education (FAPE) as outlined in federal legislation (IDEA-§300.17(a.-d.). Seven of ten



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applicable student files (70% of the sample) were judged to be in noncompliance with the

requirement that specific staff members were present to provide information or

recommendations in IEP decisions (IDEA §300.321(a-b). Three of ten applicable student

files (30% of the sample receiving related services) were judged to be in noncompliance

with the requirement that the IEP include a statement of the child’s present levels of

academic achievement and functional performance, including how the child’s disability

affects the child’s involvement and progress in the general education curriculum (IDEA-

§300.320(a)(1)(i)(2)(i). Seven of ten applicable student files (70% of the sample receiving

related services) was judged to be in noncompliance with the requirement that the student’s

IEP include measurable annual goals, including academic and functional goals designed to

meet the child’s needs that result from the child’s disability to enable the child to be

involved in and make progress in the general education curriculum; and meet each of the

child’s other educational needs that result from the child’s disability (IDEA-§300.320(a)(2)

and 300.160(5a)(b2ii)(c-9). Ten of ten files applicable student files reviewed (100% of the

sample) contained missing information to document services were provided according to

the type and frequency indicated on the student’s IEP (IDEA §300.320(a)(4),(7) Definition

of an Individualized Education Program). Five of nine applicable student files reviewed

(56% of the sample) contained missing information to document progress toward meeting

annual goals (IDEA §300.320(a)(3),(i-ii). In relation, three areas of student-specific areas

of noncompliance were observed during the on-site file reviews. Specifically, two of ten

applicable student files (20% of the sample) reviewed did not contain complete

information regarding related services necessary for the student to receive FAPE (IDEA

§300.320(a)(4), (7) Definition of an Individualized Education Program). One of ten



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applicable student files reviewed (10 % of the sample) contained missing information

regarding transition services (IDEA §300.320(b)(1) Definition of an Individualized

Education Program). Finally, one of ten applicable student files reviewed (10 % of the

sample) did not contain sufficient evidence of efforts to involve the parent in the IEP team

decisions (IDEA §300.322(a) Parental Participation).

       c. Landry-Walker College and Career Preparatory High School

       The follow-up, on-site targeted monitoring visit occurred on February 9, 2017. Two

LDOE representatives and two IMs were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard bank

of questions with staff members consistent with requirements outlined in sections B(4)(a) and

B(4)(b) on page 4-5 of Addendum A of the CJ. The specific staff members who participated in

the interview process are reported on page 3 of the LDOE Monitoring Report. Faculty at Landry

Walker College and Career Preparatory High School clearly articulated the ongoing procedures

for delivering related services to students with disabilities to ensure the provision of a free

appropriate public education. Faculty reported conducting a thorough review of each student’s

referral concerns identified during the initial evaluation process as well as a review of all

transferring students’ IEPs to ensure that related service needs off all students were being

adequately addressed. School staff also reported establishing an open communication procedure

with the office of pupil appraisal to assist with ensuring that students who transfer to the network

schools have a smooth transition of services. Additionally, staff described an internal procedure

whereby pupil appraisal staff collaborates with all schools within the charter school network to

discuss current and/or potential related service needs of students with disabilities. Finally,

school staff indicated that all students are provided with related services during non-core classes




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to avoid issues with missed instruction. In general, faculty at the Landry-Walker College and

Career Preparatory High School clearly articulated their responses regarding the required IDEA

mandates for provision of related services and provided satisfactory responses to all interview

questions. A detailed summary of staff responses is presented on page 3 of the LDOE

Monitoring Report.

       A representative sample of ten student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section B(2)(a) and B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten

students reviewed included the following exceptionalities: one student with an

exceptionality of Autism (10% of the sample), one student with an exceptionality of

Hearing Impaired (10% of the sample), two students with an exceptionality of Intellectual

Disability (20% of the sample), three students with an exceptionality of Multiple

Disabilities (30% of the sample), two students with an exceptionality of Orthopedic

Impairment (20% of the sample), and one student with an exceptionality of Traumatic

Brain Injury (10% of the sample). Regarding related services provisions, four students

received Occupational Therapy services, four students received Physical Therapy services,

seven students received Adapted Physical Education services, and eight students received

Speech/Language Therapy services.

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum

A of the CJ using the required Related Service protocol. Please refer to page 3 of the LDOE

monitoring report for the Landry-Walker College and Career Preparatory High School in

Appendix B for a list of items that were reviewed to complete the related service protocol




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for the sample of students. A review of student records revealed that zero of ten student files

reviewed (0% of the sample) were judged to be in noncompliance regarding related service

provisions (see page 4 of the LDOE monitoring report and page 1 of the 2016-2017 IDEA

monitoring results summary located in Appendix B). In summary, no systemic or student-

specific findings of noncompliance were identified for Landry-Walker College and Career

Preparatory High School based on a review of interview responses and student file review

information.

       2. Comparison of Compliance for Related Services Provisions for the Spring 2016

           and Spring 2017 Semesters

       A comparison of the average percentage of compliance for each item (i.e., IDEA,

Bulletin 1508 regulation) on the CJ Related Services Protocol is presented in the tables

in Appendix B for each LEA selected for targeted monitoring during the spring 2016

semester and follow-up targeted monitoring during the spring 2017 semester. In relation,

the IMs evaluated the trend in compliance from the spring 2016 semester to the 2017

semester and status of compliance based on outcomes from the spring 2017 on-site

monitoring visits that occurred from February 6-10, 2017. An overview of findings for

each LEA is presented below.

       a. Algiers Technology Academy

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Related Services Protocol, a

positive and/or stable trend (i.e., improvement or continued adequate provision of

professional practices and/or submission or required documentation) was observed for

nine of nine applicable items (100% of the applicable items on the protocol). Similarly,




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compliance outcomes were observed to be at or above the required criterion (e.g., 80% or

more of the student sample met the 100% individual student compliance standard for any

regulation) for eight of nine (89%) IDEA mandates assessed. As previously mentioned in

this status report, a single instance of systemic noncompliance was identified during the

spring 2017 semester for Algiers Technology Academy (i.e., failure to consistently

document that students were provided related services in the types and frequency specified

in the student’s IEP) for which corrective action was warranted.

       b. International High School of New Orleans

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Related Services Protocol, a

positive and/or stable trend (i.e., improvement or continued adequate provision of

professional practices and/or submission or required documentation) was observed for only

one of eight applicable IDEA mandates assessed (12% of the applicable items on the

protocol). Similarly, compliance outcomes were observed to be at or above the required

criterion (e.g., 80% or more of the student sample met the 100% individual student

compliance standard for any regulation) for only three of eight (37%) applicable IDEA

mandates assessed. As previously mentioned in this status report, numerous student

specific and/or systemic noncompliance for IDEA related service mandates were identified

during the spring 2017 semester for International High School of New Orleans for which

intensive corrective actions were warranted.

       c. Landry-Walker College and Career Preparatory High School

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Related Services Protocol, a




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positive and/or stable trend (i.e., improvement or continued adequate provision of

professional practices and/or submission or required documentation) was observed for nine

of nine applicable IDEA mandates assessed (100% of the applicable items on the protocol).

Similarly, compliance outcomes were observed to be at or above the required criterion

(e.g., 80% or more of the student sample met the 100% individual student compliance

standard for any regulation) for nine of nine (100%) IDEA mandates assessed. As such,

Landry Walker College and Career Preparatory High School demonstrated no IDEA

violations that required corrective actions.

       3. Corrective Actions to Address Identified Areas of Noncompliance

       Overall, systemic noncompliance was identified in one area (i.e., definition of an

Individualized Education Program to include specific date for beginning of services,

modifications, and anticipated frequency, location, and duration of services and

modifications) for two of three charter schools targeted for monitoring in related services

during the spring 2017 semester (e.g., Algiers Technology Academy, International High

School of New Orleans). International High School of New Orleans also demonstrated

additional student specific and/or systemic noncompliance with IDEA mandates in the

following areas: (a) IEP teams failing to include a minimum of one regular education teacher,

special education teacher or special education provider of the child, (b) inappropriate and/or

inadequate statement of students’ present levels of academic achievement and functional

performance, including how the student’s disability affects involvement and progressing in

the general education curriculum, (c) inappropriate and/or inadequate measurable annual

goals, including academic and functional goals, (d) IEP’s failing to contain a statement of the

special education and related services that will enable the child to advance toward IEP goals




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and meaningfully participate in school activities with disabled and non-disabled peers (e)

IEP’s failing to include a description of how the child’s progress toward meeting the annual

goals will be measured and when periodic reports on progress will be provided (f) IEP’s

failing to include transition services and appropriate measurable postsecondary goals that are

age appropriate and (g) failure to ensure parents are afforded an opportunity to participate in

IEP team decisions.

       Given the identified systemic and student-specific findings of noncompliance

under IDEA, Part B, all three charter schools (100% of the sample) required a formal CAP

during the 2016-2017 school year. Specific components of each CAP were previously

discussed on pages 42-44 in the IM status reported dated November 7, 2016. Despite

being on corrective action, systemic noncompliance was identified across one area (e.g.,

Definition of an Individualized Education Program) for two of three charter schools

targeted for monitoring during the spring 2017 semester (66% of the LEAs). As required

by the CJ, the LDOE developed an ICAP to address each area of identified systemic

noncompliance or student- specific noncompliance listed in the LDOE monitoring reports

and 2016-2017 IDEA monitoring summaries for Algiers Technology Academy and

International High School of New Orleans. Specifically, the ICAP for Algiers Technology

Academy included two activities for corrective remedy: (a) immediate correction of all

student specific IDEA citations and (b) provision of compensatory services for identified

students. It is important to note that the charter management organization made the

decision to close this LEA at the conclusion of the 2016-2017 school year. LDOE

monitoring personnel confirmed on July 5, 2017 that school personnel at Algiers

Technology Academy completed all requirements of ICAP. LDOE monitoring personnel




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also confirmed that the students are scheduled to enroll at Landry-Walker College and

Career Preparatory High School for the 2017-2018 school year and receive related

services provisions as outlined on their IEPs.

       The ICAP for International High School of New Orleans included nine activities

for corrective remedy: (a) immediate correction of all student specific IDEA citations, (b)

mandated completion of LDOE IEP Training Modules with particular focus on Module 2

(Data-Driven Present Levels of Performance) and Module 3 (Measurable Goals) by all

special education staff, (c) mandated training for special education staff (sped teachers and

related service providers) on writing compliant IEPs, (d) training for related service

providers on how to properly document the provision of services to students, (e) ongoing

training conducted by LEA in the following areas: IEP writing, provision and

documentation of accommodations, documenting special education services and progress

monitoring of student data, (f) mandated monthly internal monitoring and consistency

checks conducted by Special Education Coordinator/Lead Teacher to ensure IEP fidelity

and bi-monthly random reviews conducted by LDOE staff to assess IEP fidelity, (g),

mandated monthly consistency checks to ensure related service provider logs are

completed with fidelity and random reviews conducted bi-monthly by LDOE staff to

assess the fidelity for service log completion, (h) quarterly review of progress reports by

Special Education coordinators for special education students enrolled at the school to

ensure special education teachers and related service providers are completing progress

reports accurately and random reviews conducted by the LDOE each quarter to assess the

fidelity for completion of progress reports and (i) provision of compensatory education to

all students whose files did not include documentation verifying they received related




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services as required by the IEP. As mentioned previously, Landry-Walker College and

Career Preparatory High School did not require an ICAP based on the outcomes from the

staff interview and student file reviews.

       A copy of the ICAPs to address areas of noncompliance for related service provisions

for Algiers Technology Academy and International High School of New Orleans are in

Appendix B for review by the parties. A review of the CAPs by the IMs revealed that the

documents include, presuming adequate fidelity of implementation, “corrective actions

sufficient to remedy the noncompliance and to reasonably ensure that such noncompliance

does not reoccur” as outlined in section IV(B)(2) on page 8-9 of the CJ.

       3. Status of Compliance

       After participating in the follow-up, on-site monitoring visits for the charter schools

selected for targeted monitoring and reviewing documentation submitted by the LDOE

monitoring personnel (e.g., monitoring notifications, LDOE monitoring reports, 2016-2017

IDEA monitoring results summaries, corrective action plans, technical assistance

notifications) and discussing the targeted monitoring activities with LDOE legal counsel and

monitoring personnel during conference calls and on-site meetings during throughout the fall

2016 semester and spring 2017 semester, the LDOE is judged to be in Substantial

Compliance with Section IV(B)(2)(a-b) of the CJ and Sections B(1)(a-c) through 5(a) of

Addendum A of the CJ for the fall semester of the 2016-2017 school year. An evaluation of

compliance will be made again in the next IM status report which will discuss the targeted

monitoring activities for charter schools who received initial monitoring reviews during the

fall 2017 semester.




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C. DISCIPLINE

       1. Targeted Monitoring Activities for the Discipline Provisions

       Two schools were selected for follow-up, on-site targeted monitoring in the area of

Discipline during the spring 2017 school semester. As previously discussed on pages 60-61

of the IM status report dated November 7, 2016, the IMs reviewed the documentation and

calculations performed by LDOE monitoring personnel and confirmed that the schools

were selected for targeted monitoring in a manner consistent with the requirements outlined

on page 11 of the CJ and pages 4-5 of Addendum A of the CJ. The schools selected for

follow-up, on- site monitoring during the spring 2017 semester included Cohen College

Preparatory School and International High School of New Orleans. Crescent Leadership

Academy was also selected for targeted monitoring during the spring 2016 term, however,

this LEA was excluded from the initial targeted monitoring review by LDOE monitoring

personnel as reported on page 61 of the IM status report dated November 7, 2016. As such,

this charter school was also excluded from the follow-up, on-site monitoring visit during

the spring 2017 semester. A review of findings for Cohen College Preparatory School and

International High School of New Orleans is presented below.

       a. Cohen College Preparatory School

       The follow-up, on-site targeted monitoring visit occurred on February 8, 2017. Two

LDOE representatives and two IMs were present during the entire on-site visit to conduct

staff interviews and review student files. The staff interviews were conducted using a

standard bank of questions with staff members consistent with requirements outlined in

sections 4(a) and 4(b) on pages 4-5 of Addendum A of the CJ. The specific staff members

who participated in the interview process are reported on page 3 of the LDOE Monitoring




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Report. Faculty at Cohen College Preparatory School clearly articulated their responses

regarding the policies, procedures, and practices related to the provision of tiered

behavioral supports and disciplinary actions for students and provided satisfactory answers

to all interview questions. A detailed summary of staff responses is presented on pages 3-4

of the LDOE Monitoring Report located in Appendix B.

       A representative sample of twelve student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section 5 (a-b) on page 11 of the CJ and section 2(a-b) on page 5 of Addendum A of the CJ.

Specifically, eight of twelve students (67% of the sample) experienced in-school

suspension (ISS) and/or out-of-school suspensions (OSS). In relation, two of twelve

students (17% of the sample) met the criteria for a change in placement. Student file

reviews were conducted by LDOE monitoring personnel and IMs in a manner consistent

with the requirements outlined in section 3(a) on page 5 of Addendum A of the CJ using

the required Discipline protocol. Please refer to pages 4-5 of the LDOE Monitoring Report

for Cohen College Preparatory School in Appendix B for a list of items that were reviewed

to complete the Discipline protocol for the sample of students. A review of student records

revealed that zero of twelve student files (0% of the sample) were judged to be in

noncompliance regarding the provision of disciplinary procedures and/or other IDEA

requirements. Overall, no areas of systemic noncompliance or student-specific

noncompliance were identified for this LEA under IDEA, Part B program during the spring

2017 follow-up, on-site targeted monitoring visit.

       b. International High School of New Orleans

       The follow-up, on-site targeted monitoring visit occurred on February 7, 2017. Two




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LDOE representatives and two IMs were present during the entire on-site visit to conduct

staff interviews and review student files. The staff interviews were conducted using a

standard bank of questions with staff members consistent with requirements outlined in

sections 4(a) and 4(b) on pages 4-5 of Addendum A of the CJ. The specific staff members

who participated in the interview process are reported on page 3 of the LDOE monitoring

report. Faculty at International High School of New Orleans clearly articulated their

responses regarding the policies, procedures, and practices related to the provision of tiered

behavioral supports and disciplinary actions for students. A detailed summary of staff

responses is presented on page 3 of the LDOE Monitoring Report located in Appendix B.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section 5 (a-b)

on page 11 of the CJ and section 2(a-b) on page 5 of Addendum A of the CJ. Specifically,

two of ten students (20% of the sample) experienced ISS, however, no student met the

criteria for a change in placement during the school year. Student file reviews were

conducted by LDOE monitoring personnel and IMs in a manner consistent with the

requirements outlined in section 3(a) on page 5 of Addendum A of the CJ using the

required Discipline protocol. Please refer to page 4 of the LDOE monitoring report for

International High School of New Orleans in Appendix B for a list of items that were

reviewed to complete the Discipline protocol for the sample of students. Although no

systemic violations were observed as a result of the follow- up, on-site monitoring visit, a

review of student records revealed that five of ten applicable student files (50% of the

sample) were judged to be in noncompliance regarding the provision of specific

disciplinary procedures and/or other IDEA requirements. Student-specific findings of




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noncompliance are listed on page 2 of the 2016-2017 IDEA Monitoring Results Summary.

       2. Comparison of Compliance for Discipline Provisions for the Spring 2016 and

           Spring 2017 Semesters

       A comparison of the average percentage of compliance for each item (i.e., IDEA

or Bulletin 1508 regulation) on the CJ Discipline Protocol is presented in the tables in

Appendix B for each LEA selected for targeted monitoring during the spring 2016

semester and follow- up targeted monitoring during the spring 2017 semester. In relation,

the IMs evaluated the trend in compliance from the spring 2016 semester to the spring

2017 semester and status of compliance based on outcomes from the spring 2017 follow-

up, on-site monitoring visits that occurred from February 6-10, 2017. An overview of

findings for each LEA is presented below.

       a. Cohen College Preparatory School

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Discipline Protocol, a positive

trend was observed for six of six applicable items (100% of the applicable items on the

protocol). In relation, outcomes observed to be at or above the required criterion (e.g., 80%

or more of the student sample met the 100% individual student compliance standard for

any regulation) for all six applicable items. As previously mentioned in this status report,

Cohen College Preparatory School did not require corrective action due to experiencing no

systemic or student- specific findings of noncompliance.

       b. International High School of New Orleans

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Discipline Protocol, a negative



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trend was observed for one of one applicable item (i.e., compliance percentages of 100%

during the spring 2016 semester and 80% during the spring 2017 semester). However,

outcomes were observed to be at or above the required criterion. In relation, International

High School of New Orleans did not require corrective action to address systemic concerns,

however, school personnel were required to address student-specific concerns identified in

their IDEA Monitoring Summary Report.

       3. Corrective Actions to Address Identified Areas of Noncompliance

       Given the identified systemic and student-specific findings of noncompliance under

IDEA, Part B, Cohen College Preparatory School and International High School of New

Orleans required formal CAPs during the 2016-2017 school year. In relation, a review of the

CAPs by the IMs revealed that the documents included “corrective actions sufficient to

remedy the noncompliance and to reasonably ensure that such noncompliance does not

reoccur” for these LEAs as outlined in section IV(C)(5) on page 11 of the CJ. Based on the

findings of the follow- up, on-site monitoring visits that occurred on February 7-8, 2017, no

areas of systemic noncompliance were observed for these LEAs revealing no requirements for

continued corrective action to address systems level concerns during the 2017-2018 school

year. However, International High School of New Orleans was required to address identified

student-specific areas of noncompliance. LDOE monitoring personnel reported to the IMs on

July 10, 2017, that an update regarding correction of all identified areas of student-specific

noncompliance would be provided by this LEA in August 2017. In relation, follow-up

correspondence from the LDOE monitoring personnel confirmed that all student-specific

areas of noncompliance were addressed by the required deadline.




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       4. Status of Compliance

       After participating in the on-site monitoring visits for the charter schools selected for

targeted monitoring and reviewing documentation submitted by the LDOE monitoring

personnel (e.g., monitoring notifications, LDOE monitoring reports, 2016-2017 IDEA

monitoring results summaries, corrective action plans, technical assistance notifications) and

discussing the targeted monitoring activities with LDOE legal counsel and monitoring

personnel during conference calls and on-site meetings during throughout the fall 2016

semester and spring 2017 semester, the LDOE is judged to be in Substantial Compliance

with Section IV(C)(5)(a-b) and Sections C(1)(a-c) through 5(a) of Addendum A of the CJ for

the spring 2017 semester of the 2016-2017 school year. An evaluation of compliance will be

made again in the next IM status report which will discuss the targeted monitoring activities

for charter schools who received initial monitoring reviews during the fall 2017 semester.

       D. ENROLLMENT

       1. Targeted Monitoring Activities for the Enrollment Stability Provisions

       Three schools were selected for follow-up, on-site targeted monitoring in the area

of Enrollment during the spring 2017 semester. As previously discussed on pages 91-92 of

the IM status report dated November 7, 2016, the IMs reviewed the documentation and

calculations performed by LDOE monitoring personnel and confirmed that the schools

were selected for targeted monitoring in a manner consistent with the requirements

outlined on page 14-15 of the CJ and page 6 of Addendum A of the CJ. The schools

selected for follow-up, on- site targeted monitoring during the spring 2017 semester

included G.W. Carver Preparatory Academy, Joseph A. Craig Charter School, and Mildred

Osborne Charter School. A review of findings for each school is presented below.

       a. G.W. Carver Preparatory Academy


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       The follow-up, on-site targeted monitoring visit occurred on February 9, 2017. One

LDOE representative and two IMs were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard bank

of questions with staff members consistent with requirements outlined in sections B(4)(a) and

B(4)(b) on pages 3-4 of Addendum A of the CJ. The specific staff members who participated in

the interview process are reported on page 3 of the LDOE Monitoring Report.

        Throughout the interview process, faculty at G.W. Carver Preparatory Academy

clearly described details regarding how students with disabilities are identified as requiring

related service provisions as well as the procedures for scheduling service provisions within

one week after an initial referral/request is made. Staff also described an ongoing procedure

of coordinating with school officials to make certain all related services are provided during

non- academic periods. Finally, staff described procedures for providing compensatory

services, if applicable, as well as the process of ongoing collaboration among staff and

service providers to ensure that all students with disabilities are afforded a free and

appropriate public education (FAPE). A detailed summary of staff responses is presented on

pages 3-4 of the LDOE monitoring report located in Appendix B.

       A representative sample of ten student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section B(2)(a) on and B(2)(b) on page 3 of Addendum A of the CJ. The sample of students

reviewed included the following exceptionalities: three students with an exceptionality of

Autism (30% of the sample), two students with an exceptionality of Intellectual Disability

(20% of the sample), one student with an exceptionality of Multiple Disabilities (10% of

the sample), two students with an exceptionality of Orthopedic Impairment (20% of the



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sample) and two students with an exceptionality of Traumatic Brain Injury (20% of the

sample). A wide range of related service provisions were reviewed including Physical

Therapy for three students, Social Work Services for three students, Occupational Therapy

for six students, Adapted Physical Education for seven students, and Speech/Language

Therapy for eight students.

       Student file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of

Addendum A and section D(2)(a-c) on page 6 of Addendum A using the required Related

Service protocol. Please refer to page 4 of the LDOE monitoring report for G.W. Carver

Preparatory Academy in Appendix B for a list of items that were reviewed to complete the

Related Service protocol for the sample of students. Although no systemic violations were

observed as a result of the follow-up, on-site monitoring visit, a review of student records

revealed that one of ten applicable student files reviewed (10% of the sample) was judged

to be in noncompliance regarding related service provisions. The student-specific finding

of noncompliance is listed on pages 1-2 of the 2016-2017 IDEA Monitoring Results

Summary.

       b. Joseph A. Craig Charter School

       The follow-up, on-site targeted monitoring visit occurred on February 7, 2017. One

LDOE representative and two IMs were present during the entire on-site visit to conduct

staff interviews and review student files. The staff interviews were conducted using a

standard bank of questions with staff members consistent with requirements outlined in

sections B4(a) and B4(b) on page 3-4 of Addendum A of the CJ. The specific staff

members who participated in the interview process are reported on page 3-4 of the LDOE




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monitoring report. Throughout the interview process, faculty at Joseph A. Craig Charter

School generally failed to articulate the LEAs procedures for quickly identifying the related

services needs of students with disabilities as well as the procedures for ensuring consistent

service delivery without compromising academic instructional time. School staff noted,

however, that any student who missed receiving a related service session(s) were provided

with compensatory services each week on Fridays. In general, school staff’s ambiguous

responses indicated systemic concerns related to the IDEA mandates for related service

provisions. A detailed summary of staff responses is presented on pages 3-4 of the LDOE

Monitoring Report located in Appendix B.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section B(2)(a)

and B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten students reviewed

included the following exceptionalities: four students with an exceptionality of Autism

(40% of the sample), four students with an exceptionality of Intellectual Disability (40% of

the sample), and two students with an exceptionality of Multiple Disabilities (20% of the

sample). A wide range of related service provisions were reviewed including Counseling

services for one student, Social Work Services in Schools for one student, Adaptive

Physical Education for one student, Physical Therapy for two students, Occupational

Therapy for five students, and Speech/Language Therapy for nine students.

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B3(a) on page 3 of Addendum

A of the CJ and section D(2)(a-c) on page 6 of Addendum A using the required Related

Service protocol. Please refer to page 4 of the LDOE Monitoring Report for Joseph A.




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Craig Charter School in Appendix B for a list of items that were reviewed to complete the

Related Services protocol for the sample of students. A review of student records revealed

that ten of ten student files reviewed (100% of the sample) were judged to be in

noncompliance regarding related service provisions. Specific IDEA systemic violations are

reported on pages 5-6 of the LDOE Monitoring Report and pages 1-3 of the 2016-2017

IDEA monitoring results summary located in Appendix B. In relation, student-specific

findings of noncompliance are listed on pages 4-7 of the 2016-2017 IDEA Monitoring

Results Summary. Overall, systemic noncompliance was identified for this LEA under

IDEA, Part B in six areas. Specifically, ten of ten (100% of the sample receiving related

services) were found to be in noncompliance with the requirement that the student receive

a Free Appropriate Public Education (FAPE) as outlined in federal legislation (IDEA-

§300.17(a.-d.). Nine of ten applicable student files (90% of the sample receiving related

services) were judged to be in noncompliance with the requirement that the IEP include a

statement of the child’s present levels of academic achievement and functional

performance, including how the child’s disability affects the child’s involvement and

progress in the general education curriculum (IDEA §300.320(a)(1)(i)(2)(i) Definition of

an Individualized Education Program). Seven of ten applicable student files (70% of the

sample receiving related services) were judged to be in noncompliance with the

requirement that the student’s IEP include measurable standards- based annual goals,

including academic and functional goals designed to meet the child’s needs that result

from the child’s disability to enable the child to be involved in and make progress in the

general education curriculum; and meet each of the child’s other educational needs that

result from the child’s disability (IDEA-§300.320(a)(2); 300.160(5a)(b2ii)(c-9) Definition




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of an Individualized Education Program). One of one applicable student files (100% of the

sample receiving related services) was judged to be in noncompliance with the

requirement that the LEA documents attempts to ensure parental participation if neither

parent was able to attend the IEP meeting (IDEA-§300.322(a) and §300.501(b) Parental

Participation). Four of ten applicable student files reviewed (40% of the sample) contained

missing information to document services were provided according to the type and

frequency indicated on the student’s IEP (IDEA §300.320(a)(4) and (7) IEP-Provision of

Related Services). Six of ten applicable student files reviewed (60% of the sample)

indicated that required staff members were not involved in IEP decisions (IDEA

§300.321(a-b IEP Committee Representation). In relation, student-specific levels of

noncompliance were identified in three areas. One of ten applicable student files reviewed

(10% of the sample) did not contain complete information regarding related services

necessary for the student to receive FAPE (IDEA §300.320(a)(4) and (7) Definition of an

Individualized Education Program). One of six applicable student files reviewed (17% of

the sample) did not contain sufficient information regarding the extent that the student will

not be educated with children who do not have disabilities (IDEA §300.320(a)(5)

Definition of an Individualized Education Program). Finally, one of ten applicable student

files reviewed (10% of the sample) did not contain sufficient evidence of efforts to involve

the parent in the IEP team decisions (IDEA§300.322(a) Parent Participation).

       c. Mildred Osborne Charter School

       The follow-up, on-site targeted monitoring visit occurred on February 10, 2017. Two

LDOE representatives and two IMs were present during the entire on-site visit to conduct

staff interviews and review student files. The staff interviews were conducted using a




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standard bank of questions with staff members consistent with requirements outlined in

sections B(4)(a) and B(4)(b) on pages 3-4 of Addendum A of the CJ. The specific staff

members who participated in the interview process are reported on page 3 of the LDOE

Monitoring Report. The responses provided by the staff of Mildred Osborne Charter School

failed to clearly describe adequate procedures for initially determining whether a student

with a disability may require related service provisions. That is, staff indicated there was no

systematic procedure for screening and/or reviewing a student’s records to assess whether

services were required. Reportedly, for students identified as requiring related services, all

services are delivered by contracted personnel. Further, usual practices for the delivery of

related services were described by staff as generally being provided in inclusive settings

(e.g., ELA, Social Studies or Science classes) or during enrichment periods. Finally, staff

reported that once a determination is made that related services are required, there is a very

short response time to initiate services for students who are enrolled in the LEA or any other

Louisiana school district. However, there is an approximate two-week delay for services to

be initiated for students who transfer to the school from out-of- state LEAs. Overall, school

staff at Mildred Osborne Charter School failed to clearly articulate whether the policies and

procedures that are required by IDEA mandates with regard to related services provisions

are formally in place at the LEA at this time. A detailed summary of staff responses is

presented on pages 3-4 of the LDOE Monitoring Report located in Appendix B.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section B(2)(a)

and B(2)b on page 3 of Addendum A of the CJ. The sample of ten students reviewed

included the following exceptionalities: two students with an exceptionality of Autism




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(20% of the sample), five students with an exceptionality of Intellectual Disability (50% of

the sample), one student with an exceptionality of Orthopedic Impairment (10% of the

sample), one student with an exceptionality of Traumatic Brain Injury (10% of the sample),

and one student with an exceptionality of Visual Impairment (10% of the sample). A wide

variety of related service provisions included Counseling services for one student, Physical

Therapy for two students, Adapted Physical Education for three students, Occupational

Therapy for three students, Social Work Services in Schools for three students, and

Speech/Language Therapy for five students.

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of

Addendum A and section D(2)(a-c) on page 6 of Addendum A of the CJ using the required

Related Service protocol. Please refer to page 4 of the LDOE monitoring report for Mildred

Osborne Charter School in Appendix B for a list of items that were reviewed to complete

the Related Service protocol for the sample of students. A review of student records

revealed that ten of ten applicable student files reviewed (100% of the sample) were judged

to be in noncompliance regarding related service provisions. Specific IDEA systemic

violations are reported on pages 5-6 of the LDOE Monitoring Report and pages 2-4 of the

2016-2017 IDEA Monitoring Results Summary located in Appendix B. In relation, student-

specific findings of noncompliance are listed on pages 5-11 of the 2016-2017 IDEA

monitoring results summary. Overall, systemic noncompliance was identified for this LEA

under IDEA, Part B in six areas and student-specific levels of noncompliance was identified

in three areas. Specifically, ten of ten applicable student files (100% of the sample receiving

related services) were found to be in noncompliance with the requirement that the student




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receive a Free Appropriate Public Education (FAPE) as outlined in federal legislation

(IDEA-§300.17(a.-d.). Eight of ten applicable student files reviewed (80% of the sample)

indicated that required staff members were not involved in IEP decisions (IDEA

§300.321(a)-(b) IEP Committee Representation). Ten of ten applicable student files

reviewed (100% of the sample) lacked pertinent information regarding the students’ present

levels of performance (IDEA §300.320.(a)(1)(i)(2)(i) Definition of an Individualized

Education Program). Six of ten applicable student files reviewed (60% of the sample) did

not contain complete information regarding related services necessary for the student to

receive FAPE (IDEA §300.320(a)(4) and (7) Definition of an Individualized Education

Program). Nine of ten applicable student files reviewed (90% of the sample) contained

missing information to document services were provided according to the type and

frequency indicated on the student’s IEP (IDEA §300.320(a)(4) and (7) Definition of an

Individualized Education Program). Ten of ten applicable student files reviewed (100% of

the sample) lacked pertinent information regarding measurable goals

(IDEA 300.320(a)(2); 300.160(5a)(b2i) (c-9) Definition of an Individualized Education

Program). Finally, three student-specific levels of noncompliance were also addressed in

the LDOE results summary. Specifically, two of ten applicable student files reviewed (20%

of the sample) did not contain sufficient information regarding the extent that the student

will not be educated with children who do not have disabilities (IDEA§300.320(a)(5)

Definition of an Individualized Education Program). Two of ten applicable student files

reviewed (40 % of the sample) contained missing information to document progress toward

meeting annual goals (IDEA §300.320(a)(3) Definition of an Individualized Education

Program). Finally, one of ten applicable student files reviewed (10% of the sample) did not




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contain sufficient evidence of efforts to involve the parent in the IEP team decisions (IDEA

§300.322(a) Parent Participation).

Comparison of Compliance for Enrollment (Related Services Provisions) for the

Spring 2016 and Spring 2017 Semesters

       A comparison of the average percentage of compliance for each item (i.e., IDEA,

Bulletin 1508 regulation) on the CJ Related Services Protocol is presented in the tables

in Appendix B for each LEA selected for targeted monitoring during the spring 2016

semester and follow-up targeted monitoring during the spring 2017 semester. In relation,

the IMs evaluated the trend in compliance from the spring 2016 semester to the 2017

semester and status of compliance based on outcomes from the spring 2017 on-site

monitoring visits that occurred from February 6-10, 2017. An overview of findings for

each LEA is presented below.

       a. G.W. Carver Preparatory Academy

       Based on a review of the data obtained during protocol reviews conducted during the

spring 2016 and spring 2017 semesters using the CJ Related Services Protocol, a positive

and/or stable trend (i.e., improvement or continued adequate provision of professional

practices and/or submission or required documentation) was observed for nine of nine IDEA

mandates assessed (100% of the applicable items on the protocol). Similarly, compliance

outcomes were observed to be at or above the required criterion (e.g., 80% or more of the

student sample met the 100% individual student compliance standard for any regulation) for

nine of nine (100% of the applicable items on the protocol) of the IDEA mandates assessed.

As such, with the exception of a single student-specific finding of noncompliance in one area,

G.W. Carver Preparatory Academy demonstrated no systemic IDEA violations that required



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corrective remedy. LDOE monitoring personnel reported to the IMs on July 10, 2017, that an

update regarding correction of all identified areas of student-specific noncompliance would be

provided by this LEA in August 2017. In relation, follow-up correspondence from the LDOE

monitoring personnel confirmed that all student-specific areas of noncompliance were

addressed by the required deadline.

       b. Joseph A. Craig Charter School

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Related Services Protocol, a

positive and/or stable trend (i.e., improvement or continued adequate provision of

professional practices and/or submission or required documentation) was observed for five

of eight applicable IDEA mandates assessed (62% of the applicable items on the protocol).

However, compliance outcomes were observed to be at or above the required criterion

(e.g., 80% or more of the student sample met the 100% individual student compliance

standard for any regulation) for only four of nine (44%) IDEA mandates assessed. As

previously mentioned in this status report, numerous student specific and/or systemic

noncompliance for IDEA related service mandates were identified during the spring 2017

semester for Joseph A. Craig Charter School for which intensive corrective actions were

warranted.

       c. Mildred Osborne Charter School

       Based on a review of the data obtained during protocol reviews conducted during

the spring 2016 and spring 2017 semesters using the CJ Related Services Protocol, a

positive and/or stable trend (i.e., improvement or continued adequate provision of

professional practices and/or submission or required documentation) was observed for zero




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of eight applicable IDEA mandates assessed (0% of the applicable items on the protocol).

Further, compliance outcomes were observed to be at or above the required criterion (e.g.,

80% or more of the student sample met the 100% individual student compliance standard

for any regulation) for only two of eight (25%) applicable IDEA mandates assessed. As

previously mentioned in this status report, numerous student specific and/or systemic

noncompliance for IDEA related service mandates were identified during the spring 2017

semester for Mildred Osborne Charter School for which intensive corrective actions were

warranted.

       2. Corrective Actions to Address Identified Areas of Noncompliance

       Given the identified systemic and student-specific findings of noncompliance under

IDEA, Part B, all three charter schools required a formal CAP during the 2016-2017 school

year. As required by the CJ, the LDOE developed a CAP to address each area of identified

systemic noncompliance or student-specific noncompliance listed in the LDOE monitoring

reports and previously discussed on pages 99-101 in the IM status reported dated November

7, 2016. Despite being on corrective action, systemic noncompliance was identified for two of

three charter schools targeted for monitoring during the spring 2017 semester (66% of the

LEAs receiving follow-up, on-site monitoring). As required by the CJ, the LDOE developed

an ICAP to address each area of identified systemic noncompliance or student-specific

noncompliance listed in the LDOE monitoring reports and 2016-2017 IDEA monitoring

summaries for Joseph A. Craig Charter School and Mildred Osborne Charter School. As

previously reported, numerous student specific and/or systemic IDEA concerns were

observed for both of these charter LEAs including failure to provide students with a free and

appropriate public education (FAPE), (b) IEP teams failing to include no less than one regular




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education teacher, special education teacher or special education provider of the child, (c)

inappropriate and/or inadequate statement of students’ present levels of academic achievement

and functional performance, including how the student’s disability affects involvement and

progressing in the general education curriculum, (d) inappropriate and/or inadequate

measurable annual goals, including academic and functional goals, (e) IEP’s failing to contain

a statement of the special education and related services that will enable the child to advance

toward IEP goals and meaningfully participate in school activities with disabled and non-

disabled peers (f) IEP’s failing to include date for beginning of services, modifications, and

anticipated frequency, location, and duration of services and required modifications (g) IEPs

failing to include a statement of the extent to which the student will not participate with non-

disabled peers and has been afforded the opportunity to do so to the maximum extent

appropriate and (h) failure to ensure parents are afforded an opportunity to participate in IEP

team decisions. Mildred Osborne Charter School also demonstrated additional student

specific concerns with regard to two student’s IEP’s failing to include a description of how

the child’s progress toward meeting the annual goals will be measured and when periodic

reports on progress will be provided. Specifically, the ICAPs each include the following nine

activities of corrective action: (a) immediate correction of all student specific IDEA citations,

(a) mandated completion of LDOE IEP Training Modules with particular focus on Module 2

(Data-Driven Present Levels of Performance) and Module 3 (Measurable Goals) by all special

education staff, (c) mandated training for special education staff (sped teachers and related

service providers) on writing compliant IEPs, (d) training for related service providers on how

to properly document the provision of services to students, (e) ongoing training conducted by

LEA in the following areas: IEP writing, provision and documentation of accommodations,



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documenting special education services and progress monitoring of student data, (f) mandated

monthly internal monitoring and consistency checks conducted by Special Education

Coordinator/Lead Teacher to ensure IEP fidelity and bi-monthly random reviews conducted

by LDOE staff to assess IEP fidelity, (g), mandated monthly consistency checks to ensure

related service provider logs are completed with fidelity and random reviews conducted bi-

monthly by LDOE staff to assess the fidelity for service log completion, (h) quarterly review

of progress reports by Special Education coordinators for special education students enrolled

at the school to ensure special education teachers and related service providers are completing

progress reports accurately and random reviews conducted by the LDOE each quarter to

assess the fidelity for completion of progress reports and (i) provision of compensatory

education to all students whose files did not include documentation verifying they received

related services as required by the IEP.

       A copy of the ICAPs to address areas of noncompliance for related service

provisions for these LEAs are in Appendix B for review by the parties. A review of the

ICAPs by the IMs revealed that, presuming adequate levels of fidelity, the documents

include “corrective actions sufficient to remedy the noncompliance and to reasonably

ensure that such noncompliance does not reoccur” as outlined in section IV(D)(7) on page

14 of the CJ.

       3. Status of Compliance

       After participating in the on-site monitoring visits for the charter schools selected for

targeted monitoring and reviewing documentation submitted by the LDOE monitoring

personnel (e.g., monitoring notifications, LDOE monitoring reports, 2016-2017 IDEA

monitoring results summaries, corrective action plans, technical assistance notifications) and




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discussing the targeted monitoring activities with LDOE legal counsel and monitoring

personnel during conference calls and on-site meetings during throughout the fall 2016

semester and spring 2017 semester, the LDOE is judged to be in Substantial Compliance

with Section IV(D)(7)(a-b) of the CJ and Sections D(1)(a-c) and D(2)(a-c) of Addendum A of

the CJ for the spring semester of the 2016- 2017 school year. An evaluation of compliance

will be made again in the next IM status report which will discuss the targeted monitoring

activities for charter schools who received initial monitoring reviews during the fall 2017

semester.

Summary of the Status of Compliance Determinations for the State Defendants

       The LDOE was judged to be in Substantial Compliance with ten of fourteen (71%)

substantive provisions of the CJ regarding the development, adoption and dissemination of

model documents and required professional development for the 2015-2016 school year. In

relation, the LDOE was judged to be in Substantial Compliance with ten of twelve (83%)

substantive provisions of the CJ regarding the implementation of targeted monitoring activities

for the 2015-2016 school year. The LDOE was judged to be in Substantial Compliance with

twenty-six of twenty-six (100%) of the substantive provisions in the CJ for which they have

assigned responsibility for the 2016-2017 school year. As such, the 2016-2017 school year

represented the initial year for attaining Substantial Compliance for each provision for which

the LDOE has responsibility as defined in Section VIII(3) on page 18 of the CJ. The LDOE is

now required to maintain Substantial Compliance across each provision for which they have

assigned responsibility for two consecutive years which represents the 2017-2018 and 2018-

2019 school years at a minimum. Once the LDOE achieves the two years of maintenance,

release from the CJ is then subject to Court approval as outlined in Section VIII(3) on page 18



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of the CJ.

Recommendations for Addressing Areas of Corrective Action for LEAs selected for

Targeted Monitoring

       The LDOE shall continue to follow the targeted monitoring procedures as outlined in

each substantive section of the CJ and on pages 1-12 of Addendum A of the CJ. The IMs will

continue to review charter school selection and verify LDOE calculations as required by the

CJ. The LDOE shall also continue to select LEAs for targeted monitoring and perform staff

interviews and student file reviews using the protocols as outlined in the CJ and Addendum A

of the CJ during future initial and follow-up on-site targeted monitoring visits. In relation, the

LDOE shall continue to conduct initial and follow-up, on-site targeted monitoring visits

collaboratively with the IMs to obtain information from faculty and review student files to

make compliance determinations in this area of the CJ. Finally, as specified in all LEAs

ICAPs, LDOE monitoring personnel shall continue to provide professional development,

ongoing technical assistance and professional feedback to ensure the LEAs are able to engage

in the activities specified in the ICAPs with adequate levels of fidelity to correct the identified

areas of systemic and student-specific noncompliance.

       Based on the discussions during phone conferences and onsite meetings, receipt

of feedback from all Parties to the draft IM status reports dated July 13, 2017 and

October 17, 2017 and related correspondence received from all Parties during the

period from July 2017 to February 2018, the following recommendations are offered:

       1. Given the trend of noncompliance observed in all areas of the CJ (e.g., Child Find,

             Related Services, Discipline and Enrollment Stability) across the majority of

             NOLA and OPSB LEAs initially targeted for onsite monitoring, the IMs


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      recommend that LDOE monitoring personnel, LDOE legal counsel, OPSB legal

      counsel and/or other approved consultants provide professional development and

      technical assistance to specific personnel (e.g., charter management organization

      directors, school-based administrators, special education directors, special

      education teachers and related services personnel, contracted service providers,

      SBLC members) in all New Orleans charter schools and OPSB LEAs to address the

      following information and activities: requirements for on-site targeted monitoring

      visit activities (i.e. staff interviews, student file reviews, scoring of protocols);

      determination of systemic and student-specific findings of noncompliance;

      common observations of noncompliance and concerns identified from targeted

      monitoring visits occurring during the past three years; and corrective actions

      required to address areas of noncompliance in any of the four areas of the Consent

      Judgment. In relation, it is recommended the LDOE and OPSB legal counsel

      provide any materials utilized for any professional development or technical

      assistance in this regard, along with documentation of attendance to the IMs and

      upload any training materials to the LDOE’s website and to each NOLA and OPSB

      LEAs website for future access.

   2. To improve consistency with best practices across all NOLA charter schools and

      OPSB LEAs, the IMs recommend the LDOE and OPSB collaborate to expand

      current professional development and technical assistance to address training needs

      of all New Orleans charter schools and all OPBS LEAs in the area of Child Find to

      address important information related to Multi-Tiered Systems of Support (MTSS),

      Response to Intervention (RTI), Section 504 requirements, and IDEA requirements.



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      In relation, it is recommended that the LDOE and OPSB provide any materials

      utilized for any professional development or technical assistance in this regard,

      along with documentation of attendance to the IMs and upload any training

      materials to the LDOE’s website and to each NOLA and OPSB LEAs website for

      future access.

   3. The IMs recommend that LDOE’s monitoring team review all written Child Find,

      Pupil Appraisal, Response to Intervention (RTI), and Section 504 policies of any

      NOLA LEAs or any OPSB LEAs selected for initial or follow-up targeted

      monitoring in the area of Child Find for the duration of the CJ, to ensure policy

      compliance with the IDEA. Outcomes of the review of these materials shall be

      reported in each LEA’s monitoring report submitted by the LDOE to the school

      which also discusses the onsite monitoring activities and outcomes required by the

      Consent Judgment (e.g., staff interview, student file reviews, areas of systemic and

      student-specific noncompliance, student-specific findings).

   4. The IMs recommend that any CAP or ICAP in the area of Child Find include a

      provision that the school’s School Building Level Committee (SBLC) (or similarly

      labeled under Bulletin 1508, Section §303) include appropriate representation

      from the Pupil Appraisal team as defined in Bulletin 1508, Section §107. All CAPs

      or ICAPs developed as of the filing of this status report shall include this

      provision.

   5. It is recommended the LDOE provide the IMs with information about other

      corrective actions required for charter schools that have been selected for initial or

      follow-up targeted monitoring under the Consent Judgment, when such information



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      is necessary to determine a charter school’s availability of resources to comply with

      the requirements imposed upon the school as a result of any corrective action

      imposed under the Consent Judgment.

   6. As a component of the technical assistance provided to NOLA charter schools and

      OPSB LEAs, the IMs encourage the LDOE and OPSB to request that all NOLA

      charter schools and/or OPSB LEAs conduct regular internal monitoring activities

      using required LDOE forms, Consent Judgment protocols and any other approved

      forms (e.g., LDOE rubrics currently being used to assess outcomes from CAP

      and/or ICAP activities) prior to possibly being selected for targeted monitoring to

      assess the school’s (or LEA’s) level of compliance and to identify possible areas

      where additional technical assistance may be needed from LDOE, OPSB and/or

      other approved technical assistance provider(s).

   7. For LEAs under corrective action, the IMs recommend that all CAPs and ICAPs

      developed in the area of Enrollment and/or Related Services, for the duration of the

      CJ, include language recommending that all internal and/or external Related

      Services providers complete the LDOE IEP training Modules, particularly Module

      2 on Data-Driven Present Levels of Performance and Module 3 on Measurable

      Goals. The IMs also recommend that the LDOE use the CJ Related Services

      protocol as part of monthly or bi-monthly reviews, as specified in each targeted

      LEAs CAP and/or ICAP, undertaken to assess fidelity of IEP development and

      when reviewing documentation submitted by each LEA requiring any measure of

      formal corrective action (CAP and/or ICAP) in the area of Enrollment and/or

      Related Services. The IMs also recommend that the LDOE and/or OPSB take the




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      reasonable steps necessary to correct any pattern of noncompliance that is found as

      a result of scheduled random reviews as specified in the LEAs CAP and/or ICAP.

      Such steps should include additional strategic professional development for school

      personnel that addresses any identified areas of concern, corrective feedback and

      technical assistance offerings throughout the year to specific LEAs based on

      formative review of their practices and submitted documentation.

   8. The LDOE shall also continue to review CAPs and ICAPs in the areas of Child

      Find, Related Services, Discipline, and Enrollment as required by the Consent

      Judgment. The IMs recommend that the LDOE provide written updates of the

      status of compliance and progress for each activity specified in each LEAs CAP

      and/or ICAP to the IMs on a quarterly basis. The IMs agree to be available as

      requested by LDOE to further assist in evaluating the status of compliance with the

      all CAPs and/or ICAPs.

   9. As recommended in a correspondence to the Parties dated August 1, 2017, the IMs

      again recommend that any NOLA Charter or OPSB LEA placed on a Corrective

      Action Plan (CAP) due to ‘systemic noncompliance’ in the area of Child Find that

      fails to achieve compliance within a one-year period and which consequently will

      go on an Intensive Corrective Action Plan (ICAP) be required to secure an

      independent consultant, as described by La. Bulletin 1922 § 107(F)(4) and

      Addendum A (G)(2)(e) to the CJ, to assist the LEA with achieving compliance and

      until annual onsite targeted monitoring reveals no measure of systemic

      noncompliance. In addition, the IMs recommend that any NOLA charter or OPSB

      LEA requiring corrective action (i.e., CAP and/or ICAP) in two or more areas




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      concurrently (e.g., Child Find, Related Services, Discipline and/or Enrollment

      Stability) also be required to secure an independent consultant, as described by La.

      Bulletin 1922 § 107(F)(4) and Addendum A (G)(2)(e) to the CJ, to assist the LEA

      with achieving compliance and until annual onsite targeted monitoring reveals no

      measure of systemic noncompliance.




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